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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


    TYRONE JUDE WHITTINGTON                                                               CIVIL ACTION

    VERSUS                                                                                     NO. 16-1702

    NEWELL NORMAND, ET AL.                                                              SECTION: “J”(1)

                                                 ORDER

        The Court, having considered the complaint, the record, the applicable law, the Partial

Report and Recommendation of the United States Magistrate Judge, the objection to the Magistrate

Judge’s Partial Report and Recommendation (Rec. Doc. 36), and the opposition thereto (Rec. Doc.

37), hereby OVERRULES Plaintiff’s objection and approves the Partial Report and

Recommendation of the United States Magistrate Judge and adopts it as its opinion in this matter.

Accordingly,

        IT IS ORDERED that the motion filed by Correcthealth Jefferson, LCC, (Rec. Doc. 19),

is GRANTED and that the claims against that defendant are DISMISSED WITHOUT

PREJUDICE. 1

        IT IS FURTHER ORDERED that that plaintiff’s claims against the State of Louisiana

are DISMISSED WITHOUT PREJUDICE pursuant to the Eleventh Amendment for lack of

jurisdiction.

        New Orleans, Louisiana, this 7th day of February, 2016.


                                                   __________________________________________
                                                   UNITED STATES DISTRICT JUDGE

1
 This Order does not affect Plaintiff’s Motion for Leave to Amend Complaint (Rec. Doc. 39), which the Magistrate
Judge will address in due course.
